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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA - CASE NUMBER: 5:22CR521
Plaintiff
Vs. - JUDGE DONALD NUGENT
THOMAS J.D. WILLIAMS DEFENDANT’S SUPPLEMENTAL
- MOTION INSTANTER FOR
Defendant RESENTENCING PURSUANT TO

THE AMENDED §821 OF THE
UNITED STATES RESENTENCING
GUIDELINES

Now comes the Defendant, Thomas J.D. Williams, by and through undersigned counsel,
and hereby moves this Honorable Court to reconsider and resentence him pursuant to the
recent amendment to 8821 of the United States Sentencing Guidelines (hereinafter,
"Guidelines"). This supplemental motion is filed instanter not for the purposes of delay but
due to an oversight by undersigned to timely comply with this Court’s order dated
September 30, 2024.

INTRODUCTION

The Defendant was sentenced on May 8, 2023, to an aggregate sentence of one hundred
eighty (180) months, after being convicted by way of a plea agreement—for three counts of
Carjacking and two counts of Possession of a Firearm in Furtherance of.a Crime of |
Violence. At the time of sentencing, the Defendant received a three-point reduction for
acceptance of responsibility under U.S.S.G. §3E1.1 and was sentenced within’ the advisory
guideline range. He had Ao prior criminal history and was classified as a first-time offender.

Pursuant to the amendment to 8821 of the Guidelines, effective November 1, 2023—and
retroactive for those incarcerated as of February 1, 2024—which provides for an additional
reduction for defendants classified as zero-point offenders with no prior criminal history,
the Defendant seeks resentencing under this provision. This Court has the authority to
apply these amendments retroactively or, alternatively, exercise its discretion under 18
U.S.C. 83553(a) to consider the broader sentencing objectives considering this
amendment.
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Such an application of the amendment to the Defendant would result in an additional two-
level offense reduction in this case for the purposes of sentencing and therefore a
reduction the total term of the sentencing in this matter.

LEGAL ARGUMENT
|. THIS COURT HAS AUTHORITY TO RESENTENCE UNDER THE AMENDED GUIDELINES

Section 3582(c)(2) of Title 18 authorizes courts to modify a defendant’s sentence when the
Sentencing Commission retroactively lowers the sentencing range applicable to the
defendant. The recent amendment to 8821 of the Guidelines provides for additional
leniency for first-time offenders with zero criminal history points, reinforcing the need for
proportionality and rehabilitation in sentencing.

While the amendment to 8821 may not explicitly be retroactive, this Court retains
discretion to resentence under 18 U.S.C. 83553(a), which prioritizes imposing sentences
that are "sufficient, but not greater than necessary" to achieve the goals of sentencing.

Il. THE DEFENDANT QUALIFIES AS A ZERO-POINT OFFENDER AND SHOULD RECEIVE
THE BENEFIT OF THE AMENDMENT

Under the revised 8821, zero-point offenders who meet certain criteria are eligible for the
additional reduction. Here, the Defendant:

« Has no prior criminal history (U.S.S.G. 84A1.1);

e While the offense was categorized as a crime of violence and despite being in
possession of a firearm, no bodily injury occurred, and the Defendant exhibited
mitigating factors such as full cooperation with police during questioning; and

« Demonstrated acceptance of responsibility, as recognized in his three-point
reduction at sentencing. .

As such, this Court should consider Defendant eligible for the retroactive application of the
zero-point offender offense level reduction. .

Ill. CASE LAW SUPPORTS THE COURT’S BROAD DISCRETION IN RESENTENCING

The Supreme Court has emphasized that the Guidelines are advisory, not mandatory,
allowing the courts’ discretion to deviate where appropriate. See United States v. Booker,
543 U.S. 220 (2005); Gall v. United States, 552 U.S. 38 (2007). Additionally, courts have
repeatedly affirmed the principle that sentencing should reflect evolving standards of
fairness and proportionality.
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For example, in Pepper v. United States, 562 U.S. 476 (2011), the Court held that sentencing
courts may consider post-sentencing developments, such as amendments to the
Guidelines, in imposing a new sentence. Similarly, in Dillon v. United States, 560 U.S. 817
(2010), the Court clarified that §3582(c)(2) proceedings allow for sentence reductions
based on retroactive guideline amendments when consistent with Sentencing

Commission policy.
IV. RESENTENCING IS CONSISTENT WITH THE GOALS OF 18 U.S.C. §3553(A)

Resentencing the Defendant to account for the amended 8821 aligns with the sentencing
goals under 83553(a):

1. Reflecting the seriousness of the offense while promoting respect for the law;

2. Providing just punishment;

3. Affording adequate deterrence to criminal conduct; and

4. Avoiding unwarranted sentencing disparities among similarly situated defendants.

The amendment demonstrates the Sentencing Commission’s recognition of the
importance of providing leniency for first-time, zero-point offenders. Applying these
principles retroactively to the Defendant serves the interests of justice and encourages
rehabilitation.

CONCLUSION

For the foregoing reasons, the Defendant respectfully requests that this Court grant this
Supplemental Motion Instanter and resentence him pursuant to the amended 8821 of the
United States Sentencing Guidelines or, alternatively, exercise its discretion to impose a
sentence consistent with the spirit and intent of the amended Guidelines.

oo Respectfully submitted,

/s/Henry J. Hilow

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THOMAS J.D. WILLIAMS

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CERTIFICATE OF SERVICE

A copy of the foregoing Supplemental Motion Instanter for Resentencing
Pursuant to the Amended §821 of United States Sentencing Guidelines was sent to
parties, via electronic filing with Clerk’s office this 27th day of November, 2024.

Defendant was mailed a copy.

/s/Henry J. Hilow
HENRY J. HILOW (0019607)

